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                                                                                                      United States Bankruptcy Court
                                  IN THE UNITED STATED BANKRUPTCY COURT                                   Southern District of Texas
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON
                                                                                                             ENTERED
                                                                                                            March 17, 2022
     IN RE:                                                   §                                           Nathan Ochsner, Clerk
                                                              §       CASE NO: 22-30670
     SABINE STORAGE & OPERATIONS, INC.,                       §
                                                              §
              Debtor.                                         §
                                                              §
                                                              §       CHAPTER 11
                                                              §

                                                       ORDER
                                                  SETTING HEARINGS
                                                  ECF Nos. 5, 6, 7 and 9

1.   On March 21, 2022, at 4:00 p.m. (Central Standard Time), hearings on:

     - Debtor's Emergency Motion for Order (A) Authorizing the Rejection of the Lease for the Westheimer Office Nunc Pro Tunc
     to the Petition Date, (B) Authorizing the Abandonment of Remaining Property, and (C) Granting Related Relief, ECF #5;

     - Debtor's Motion for Order (A) Authorizing the Payment of Prepetition Employee Obligations and (B) Granting Related Relief,
     ECF #6;

     - Debtor's Motion for Order (A) Authorizing the Debtor to Pay Prepetition Obligations of Certain Critical Vendors and (B)
     Granting Related Relief, ECF #7; and

     - Application to Employ Parkins Lee & Rubio LLP as Debtor's Bankruptcy Counsel, ECF #9

     shall be held before the United States Bankruptcy Court, Bob Casey Federal Building, Courtroom #402, 515 Rusk, Houston
     Texas.

2.   Pursuant to Bankruptcy General Order 2021-05 parties may either appear electronically or in person unless otherwise ordered
     by this Court.

3.   To participate electronically, parties must follow the instructions set forth on Judge Rodriguez’s web page located at:
     https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed
     to: (i) call in utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510, conference room number
     999276 And to (ii) log on to GoToMeeting for video appearances and witness testimony, utilizing conference code:
     judgerodriguez.

4.   Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court Procedures Section VII(b) regarding
     the exchange and submission of electronic exhibits.

5.   Upon entry of this Order, Debtor must serve a copy of this Order on all parties entitled to notice of the hearing and file a
     certificate of service with the Clerk’s office.


      SIGNED March 17, 2022



                                                           __________________________________
                                                                         Eduardo Rodriguez
                                                                   United States Bankruptcy Judge
